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                     IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF ALASKA AT ANCHORAGE


KEITH C. JOHNSON,              )
                               )
          Plaintiff/Appellant, )         Case No. 3:14-cv-00095-SLG
                               )
      vs.                      )
                               )         NOTICE OF APPEAL
RLI INSURANCE COMPANY, )
                               )
          Defendant/Appellee.)
                               )

         Notice is hereby given that Keith C. Johnson, plaintiff in the above-captioned

action, hereby appeals to the United States Court of Appeals for the Ninth Circuit from

the Judgment dated March 1, 2016 (Docket No. 102) 1 entered in this action and the Order

Re: Cross Motions for Summary Judgment 2 dated February 29, 2016 (Docket No. 101)

entered in this action by the Hon. Sharon L. Gleason of the United States District Court




1
    See Exhibit A, Judgment in a Civil Case.
2
    See Exhibit B, Order Re Cross Motions for Summary Judgment.



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for the District of Alaska. Said Notice of Appeal is made pursuant to FRAP 3(a) and (b),

and FRAP 4(a) et seq.

       DATED this 31st day of March, 2016, at Anchorage, Alaska.

                                           CLAYTON & DIEMER, LLC
                                           Lawyers for Plaintiff Keith C. Johnson

                                           By:   s/Alfred Clayton, Jr.
                                                 Alfred Clayton Jr.
                                                 ABA No. 9111079

                    RULE 3-2 REPRESENTATION STATEMENT

       The parties to the judgment and order appealed from and the names and addresses

of their respective attorneys are as follows:

Plaintiff/Appellant Keith C. Johnson, represented by:

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Defendant/Appellee RLI Insurance Company, represented by:

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                                     CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the United States
District Court for the District of Alaska by using the appellate CM/ECF system on March 31, 2016. I
certify that all participants in the case are registered CM/ECF users and that service will be accomplished
by the appellate CM/ECF system as to the participants, to wit, attorneys Donald C. Thomas and Michael
D. Prough.

                                          /s/ Alfred Clayton, Jr.




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